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                                                Page 62                                                    Page 64
 1                 L. Eber                                 1                 L. Eber
 2       A. If that's what it says, yes.                   2       Q. Why was it limited to five years?
 3       Q. What was Southern Wine and Spirits             3       A. That's what they would give me because
 4   Upstate Inc.?                                         4   I needed a job and they had worked with us to help
 5       A. That would be their upstate business           5   us stay out of bankruptcy and I felt an obligation
 6   as opposed to Metropolitan New York.                  6   to work with them and they thought that was a fair
 7       Q. Earlier you referred to a company              7   amount of time and gave me the time to set up a
 8   called Southern Glazer.                               8   structure for them of lobbyists with the state. I
 9           What is that?                                 9   am a lobbyist myself and to represent them in the
10       A. They merged with Glazer out of Dallas,        10   legislature with the State Liquor Authority and
11   Texas.                                               11   the Governor's Office.
12       Q. When did that merger occur?                   12       Q. Why do you say that you needed a job?
13       A. A couple of years ago I believe.              13       A. Everyone needs a job. We lost the
14       Q. But for all intents and purposes in           14   business. We lost everything in New York.
15   terms of your relationship with that, with the       15       Q. You still had a job with Eber
16   Southern company, the merger did not, with Glazer    16   Connecticut; correct?
17   did not affect that relationship; correct?           17       A. Eber Connecticut was not in very good
18       A. No.                                           18   condition at that time.
19       Q. How was the consulting agreement              19           MR. BROOK: Let's go ahead and get
20   Exhibit 27 negotiated?                               20       another exhibit going here. Mark this as
21       A. You have to ask a lawyer. Probably            21       Plaintiffs' 28.
22   Pat Dalton.                                          22           (Plaintiffs' Exhibit 28, a series of
23       Q. So Pat Dalton negotiated this for you?        23      W-2s that were produced by the parties in
24       A. I would -- I believe so. I can't              24      discovery Bates numbers EB 00021420 through
25   think of anyone else.                                25      428, marked for identification, as of this
                                                Page 63                                                    Page 65
 1                 L. Eber                               1                  L. Eber
 2       Q. Did you pay Pat Dalton for negotiating       2        date.)
 3   this agreement yourself?                            3         Q. Plaintiffs' 28 is a series of W-2s
 4       A. I believe he billed the company.             4     that were produced by the Eber parties in
 5       Q. And why did he bill the company for          5     discovery bearing Bates numbers EB 00021420
 6   doing work to negotiate an agreement between you 6        through 428.
 7   personally?                                         7             Do you recognize the documents that
 8       A. I don't remember who paid him.               8     are copied off of this exhibit?
 9       Q. But is it fair to say you don't              9         A. Yes.
10   remember paying Pat Dalton yourself; correct?      10         Q. What are they?
11           MR. RAMSEY: Form.                          11         A. W-2s.
12       A. I just don't remember. It's possible        12         Q. And do you see on the first page it
13   but I don't remember who paid him.                 13     has W-2s for the years 2007, 2008 and 2009?
14       Q. And just to be totally clear, if you        14         A. Mm-hmm.
15   look at the last page 9, what's listed page 9 of 9 15             MR. RAMSEY: Yes?
16   that's your signature; correct? There are          16         Q. Is that a yes?
17   two-page 9s.                                       17         A. Yes.
18           MR. RAMSEY: (Indicating.)                  18         Q. And so is it correct that according to
19       A. Yes, the first one.                         19     this exhibit Eber Brothers Wine and Liquor Corp.
20       Q. That is your signature?                     20     paid you 303,021 dollars for the year 2007?
21       A. Yes.                                        21         A. Yes.
22       Q. How was -- let's step back.                 22         Q. So that was the year when the
23           So this was an agreement originally        23     consulting agreement we were just looking at was
24   drafted with a five year term; correct?            24     executed; correct?
25       A. Yes.                                        25         A. Yes.

                                                                                             17 (Pages 62 - 65)
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                                              Page 146                                                  Page 148
 1               L. Eber                                 1               L. Eber
 2   the stock?                                          2   company?
 3        A. I don't know.                               3        A. I am not involved. I don't know.
 4        Q. Was it your understanding as a result       4        Q. Whose responsibility was it for Eber
 5   of the termination of the Allen Eber Trust and      5   Brothers and Co., Inc. to take care of the stock
 6   distribution of assets by Canandaigua National      6   book registration of stockholders and issuance of
 7   Bank you yourself became a voting common            7   stock certificates?
 8   shareholder of Eber Brothers and Co., Inc.?         8        A. I can't remember.
 9            MR. RAMSEY: Form.                          9        Q. Do you know where the stock book for
10        A. I never -- I don't know. I don't           10   Eber Brothers and Co., Inc. currently is?
11   remember conversations on that. I just don't       11        A. No.
12   remember.                                          12        Q. Is it your understanding that the
13        Q. On this document here in this letter       13   stock book for Eber Brothers and Co., Inc. was
14   it refers to copies of stock powers being sent and 14   misplaced for a period of time?
15   then I will just read the whole paragraph into the 15        A. I do not know.
16   record so we are all clear. It says "Enclosed      16            MR. BROOK: Let's go to the next
17   please find your client's respective copies of the 17        Exhibit 39.
18   stock powers transferring their shares of Eber     18            (Plaintiffs' Exhibit 39, a four-page
19   Brothers and Co., Inc. pursuant to Canandaigua     19      letter dated November 5, 2018 by Paul
20   National Bank and Trust Company's distribution     20      Keneally addressed to Magistrate Judge
21   schedule. As the bank never had possession of the 21       Katherine Parker, marked for identification,
22   company's stock book or other corporate documents 22       as of this date.)
23   and despite requests, the bank has not been        23        Q. Exhibit 39 is a four-page letter dated
24   provided with the same. We were required to        24   November 5, 2018 by Paul Keneally addressed to
25   complete these transfers via these stock powers as 25   Magistrate Judge Katherine Parker.
                                              Page 147                                                  Page 149
 1                  L. Eber                              1                  L. Eber
 2   opposed to issuing new stock certificates. We are   2            Do you recognize this document?
 3   currently retaining the original stock powers       3        A. I don't remember seeing it. Yeah, I
 4   which I have affixed to each original stock         4   probably did. I probably was copied and got a
 5   certificate that the bank received when it became   5   copy of it. I just don't remember.
 6   successor co-trustee. We will continue to do so     6        Q. Paul Keneally is the lawyer for you,
 7   unless and until such time as we are advised as to  7   your daughter and the Eber companies in this
 8   whom these originals should be provided given the   8   litigation; correct?
 9   apparent inability to locate the company's stock    9        A. Yes.
10   book and affiliated records. It is my              10        Q. And I would like to draw your
11   understanding that the securities were transferred 11   attention to paragraph 3 on this first page. I
12   to your client's respective financial institutions 12   will read it into the record. Mr. Keneally wrote
13   on September 29th and that the remaining assets    13   to the court in response to a letter by me "It is
14   were electronically transferred last week as       14   not true that the corporate stock register was
15   well."                                             15   quote lost. The register is maintained by the
16            Did I read that correctly?                16   corporate secretary Wendy Eber who is solely
17       A. Yes.                                        17   responsible for registering valid transfers of
18       Q. And so do you know what this letter         18   stock in it. Neither the Allen Eber Trust,
19   was referring to about the apparent inability to   19   defined as the trust, nor CNB as one of its
20   locate the company's stock book?                   20   trustees has any responsibility or role in
21       A. What it says there. They couldn't           21   registering stock transfers. The corporate
22   find it.                                           22   secretary never told CNB that the register was
23       Q. What is a stock book?                       23   lost."
24       A. I don't know.                               24            Did you see that?
25       Q. How does new stock get issued by a          25        A. Yes.
                                                                                        38 (Pages 146 - 149)
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                                                 Page 150                                                     Page 152
 1                 L. Eber                                   1                  L. Eber
 2       Q. And did you authorize Mr. Keneally to            2   daughter Wendy as well as you?
 3   make this statement?                                    3       A. He was my lawyer.
 4           MR. RAMSEY: Form.                               4       Q. Now do you see the second paragraph
 5       A. He is my lawyer.                                 5   here. It refers to first two words say my
 6       Q. And does that refresh your                       6   clients.
 7   recollection as to whose responsibility it was to       7            Do you see that plural?
 8   deal with the stock book and issue stock                8       A. Yes.
 9   certificates on behalf of Eber Brothers and Co.,        9       Q. Who else --
10   Inc.?                                                  10       A. It would be my daughter.
11           MR. RAMSEY: Form.                              11       Q. I would like to point your attention
12       A. If that's what he says that's what it           12   now to the substance of the first paragraph which
13   is. He represents me.                                  13   I will also read for the record. "Dear Lorisa, I
14       Q. So do you know how looking back at              14   trust you received my e-mail of yesterday
15   Exhibit 38, do you know why the lawyers for            15   afternoon regarding your inquiry as to the
16   Canandaigua National Bank appeared to believe that     16   corporate stock book of Eber Brothers and Co.,
17   the stock book was not able to be located as of        17   Inc. I am fairly confident that they do not have
18   October 2017?                                          18   it. However, to be sure, Wendy will be in
19       A. No.                                             19   Rochester for the fourth of July weekend and will
20       Q. And to the best of your knowledge, has          20   double check."
21   Wendy Eber always been in possession of the            21            Do you see that?
22   company's stock book?                                  22       A. Yes.
23           MR. RAMSEY: Form.                              23       Q. So your lawyer told counsel for
24       A. I don't know.                                   24   Canandaigua National Bank that you and Wendy could
25           MR. BROOK: Let's do two more                   25   not locate the corporate stock book; correct?
                                                 Page 151                                                     Page 153
 1                 L. Eber                                   1                 L. Eber
 2      exhibits. This is 40 and 41.                         2           MR. RAMSEY: Form.
 3           (Plaintiffs' Exhibit 40, a e-mail               3       A. I don't remember that. It's very
 4     dated June 2, 2017 from Jim Vazzana to                4   confusing and I just don't remember.
 5     Lorisa LaRocca Bates number CNB-PL 0022,              5       Q. Did you have an understanding as to
 6     marked for identification, as of this date.)          6   why Canandaigua National Bank wanted the corporate
 7           (Plaintiffs' Exhibit 41, an e-mail              7   stock book?
 8     dated August 18, 2017 from Jim Vazzana to             8       A. No.
 9     Lorisa LaRocca, marked for identification,            9       Q. Please turn to Exhibit 41 which is an
10     as of this date.)                                    10   e-mail dated August 18, 2017 again from Jim
11      Q. Exhibit 40 is a e-mail dated June 2,             11   Vazzana to Lorisa LaRocca this time with you and
12   2017 from Jim Vazzana to Lorisa LaRocca Bates          12   your daughter Wendy copied on it.
13   number CNB-PL 0022.                                    13           Do you see that?
14           Do you recognize that e-mail?                  14       A. Yes.
15           MR. RAMSEY: You are not suggesting he          15       Q. This has Bates numbers CNB-PL 0006.
16      was copied on it; right?                            16   And this e-mail reads "Lorisa, have you or your
17           MR. BROOK: No.                                 17   client ever found the stock register on Eber
18      A. I'm not. I wasn't copied.                        18   Brothers Co. My client indicated in June that she
19      Q. Nonetheless, are you aware that your             19   would make a special trip to Rochester in July to
20   lawyer sent an e-mail along these lines to Lorisa      20   see if she could find them. Please advise."
21   LaRocca who was representing Canandaigua National      21           Do you see that?
22   Bank?                                                  22       A. Yes.
23      A. You know, I think it's possible. I               23       Q. Do you remember this e-mail?
24   don't remember but it is very possible.                24       A. I got it.
25      Q. Was Jim Vazzana representing your                25       Q. Do you remember seeing it?

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                                               Page 190                                                     Page 192
 1                 L. Eber                                 1                 L. Eber
 2   any debts that were owed directly by Eber             2       Q. Exhibit 44 is a copy of a summons and
 3   Connecticut; correct?                                 3   complaint dated February 21, 2012 bearing Bates
 4            MR. RAMSEY: Form.                            4   number KSH 00070 through 83.
 5       A. I don't -- I can't give you an answer.         5           Do you recognize this document?
 6   I don't -- I would like to give you an answer but     6       A. Yes.
 7   I don't have an answer for you.                       7       Q. What is it?
 8       Q. So was it your understanding that Eber         8       A. It is summons before a State Supreme
 9   Connecticut was weighed down by the debt of Eber      9   Court. It is on an action for the foreclosure.
10   Brothers Wine and Liquor Corp.?                      10       Q. Who is the listed plaintiff here?
11            MR. RAMSEY: Form.                           11       A. Alexbay.
12       A. Eber Wine and Liquor Corp. yeah, it           12       Q. That's your company; right?
13   could have -- it didn't help it. If it cleaned up    13       A. Yes.
14   the debt and made a cleaner statement so we could    14       Q. Who is the lawsuit against?
15   go to a bank and they could lend us money based on   15       A. Eber Wine and Liquor, Southern Eber
16   the inventory or receivables of Connecticut.         16   Wine and Liquor Metro, John Doe et cetera.
17       Q. And what were the debts that Eber             17       Q. So does this refresh your recollection
18   Brothers Wine and Liquor Corp. had at the time       18   that in February 2012 you did authorize the filing
19   that you were trying to clean up the balance         19   of a lawsuit on behalf of Alexbay against Eber
20   sheet?                                               20   Brothers Wine and Liquor Corp.?
21       A. I don't remember.                             21       A. Yes.
22       Q. There was PBGC; right?                        22       Q. At the time this lawsuit was filed,
23       A. Yes.                                          23   had you resigned as president of Eber Brothers
24       Q. There was the Teamsters?                      24   Wine and Liquor Corp.?
25       A. Yes.                                          25       A. I believe so.
                                               Page 191                                                     Page 193
 1                 L. Eber                                 1                 L. Eber
 2       Q. There was Harris Beach?                        2        Q. How did you resign? How did you go
 3       A. Yes.                                           3   about doing this?
 4       Q. Anyone else?                                   4        A. I believe there was a board meeting
 5       A. Benderson.                                     5   and I submitted my resignation to it. I don't
 6       Q. What is Benderson?                             6   actually remember going. You know, how many years
 7       A. A real estate company.                         7   ago that was. It was when, in 2012 or before
 8       Q. How much was owed to them                      8   that.
 9   approximately?                                        9        Q. It is your recollection that it
10       A. It was over two hundred thousand I            10   happened at a board meeting; correct?
11   believe at the time.                                 11        A. I believe so, yes. To the best of my
12       Q. Anyone else?                                  12   recollection.
13       A. There could have been. I just can't           13        Q. Do you recall any board meetings of
14   remember now.                                        14   Eber Brothers Wine and Liquor Corp. within the two
15       Q. At some point in February 2012 you            15   or three month period before this document Exhibit
16   through Alexbay filed a lawsuit against Eber         16   44 was filed?
17   Brothers Wine and Liquor Corp.; correct?             17        A. I don't remember. You know, it could
18       A. I don't remember.                             18   have been at a board meeting. I could have just
19           MR. BROOK: Let's go to our next              19   submitted it. Going back I don't remember.
20       exhibit. Up to 44 I think.                       20        Q. What do you mean by submitted it, what
21           (Plaintiffs' Exhibit 44, a copy of a         21   is it?
22      summons and complaint dated February 21,          22        A. Submitted a letter of resignation.
23      2012 bearing Bates number KSH 00070 through       23        Q. Do you recall ever signing a letter of
24      83, marked for identification, as of this         24   resignation?
25      date.)                                            25        A. I can't remember. I could have, but I

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                                                Page 194                                                     Page 196
 1                 L. Eber                                  1                 L. Eber
 2   don't remember the whole scenario of what              2   National Bank to replace Wells Fargo?
 3   happened.                                              3       A. We found them for a small amount. I
 4       Q. It had to have been a pretty big deal           4   think it was a million five. That wasn't enough.
 5   when you resigned as president of your father's        5   We needed more and we needed something that wasn't
 6   company; correct?                                      6   renewed every month or so. We needed somebody to
 7           MR. CALIHAN: Objection to form.                7   give us a commitment and that's why we had to
 8           MR. RAMSEY: Form.                              8   clean up the balance sheet to make it look like
 9       Q. Was that an emotional moment for you?           9   for a bank to want to loan us money.
10       A. With what we have been through nothing         10       Q. Returning to Exhibit 44 in front of
11   is emotional anymore.                                 11   you.
12       Q. So this was just strictly business; is         12            Did you review this before it was
13   that right?                                           13   filed?
14           MR. RAMSEY: Form.                             14       A. I don't remember, but I must have.
15       Q. You are nodding.                               15   You know, I can't remember all these things 2012.
16           Is that a yes?                                16            MR. RAMSEY: Just wait for a question.
17       A. It was part of the nightmare that was          17       Q. So why did you file this lawsuit?
18   going on with all these companies and trying to       18       A. Why did I file what lawsuit?
19   keep them from being liquidated to survive.           19       Q. The one that we are looking at here
20       Q. What was your understanding as to what         20   Exhibit 44.
21   might cause the business to be liquidated since       21       A. Oh, the foreclosure?
22   you were afraid of that?                              22       Q. Yes.
23       A. Lack of funds to pay the bills, pay            23            MR. CALIHAN: Objection to form.
24   the suppliers and you are out.                        24            MR. RAMSEY: Form.
25       Q. So it was your understanding that              25       A. I filed it to solidify showing that I
                                                Page 195                                                     Page 197
 1                 L. Eber                                  1                  L. Eber
 2   there were certain creditors of the company that       2   wasn't doing anything underhanded. There would be
 3   could have forced a liquidation?                       3   a public record of what I had done on advice of
 4        A. Possibly that or we had to get a bank,         4   counsel.
 5   we had to get bank loans. We had to get a bank         5        Q. Which counsel was that?
 6   that would give us money to survive because you        6        A. Michael Beyma.
 7   saw early on Wells Fargo foreclosed on it and that     7        Q. And was it your understanding from the
 8   put us right out of business in New York.              8   outset that Eber Wine and Liquor and Eber Metro
 9        Q. When was that?                                 9   were going to consent to what you requested?
10        A. It was in two thousand and what, five,        10        A. We filed it and it took its course.
11   six. I don't have the exact date.                     11        Q. Had you discussed the lawsuit before
12        Q. So you are referring to Wells Fargo           12   you filed it with Wendy, your daughter?
13   foreclosing on Eber Metro?                            13        A. I probably had a discussion with her
14        A. On Eber period. All the Eber                  14   of it. I don't remember. I was on advice. My
15   companies.                                            15   discussion was with Michael Beyma.
16        Q. Was there actually like a judicial            16        Q. Was Michael Beyma also representing
17   proceeding relating to that?                          17   Eber Brothers Wine and Liquor at the time?
18        A. Not that I know of. They just                 18        A. I don't think so. I think he just --
19   notified us that our loan was in default and we       19   I don't remember. I don't remember that, but I
20   were in a workout.                                    20   remember that's who I worked with the lawyer on
21        Q. So it was something short of actually         21   this. He had another fellow Brueckner, if you
22   initiating foreclosure proceedings in court; is       22   look at the bottom, who wasn't with them anymore.
23   that right?                                           23        Q. Who paid the legal fees of Michael
24        A. I don't remember being in court on it.        24   Beyma and Brueckner?
25        Q. And then you found Canandaigua                25        A. I did.

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                                                 Page 250                                                       Page 252
 1                  L. Eber                                  1                 L. Eber
 2   statements value the equity of Eber Connecticut at      2   Gumaer's legal advice.
 3   in late 2011 and early 2012?                            3       A. A will.
 4       A. No.                                              4       Q. Did you pay him anything for that?
 5       Q. Do you think that information is                 5       A. I don't remember if he could have sent
 6   material to understanding what the value of Eber        6   me to someone else in his firm that charged me for
 7   Connecticut might have been at that time?               7   it.
 8            MR. RAMSEY: Form.                              8       Q. Was Mr. Gumaer compensated for his
 9       A. I think you would have to ask an                 9   role as a co-trustee of the trust?
10   accountant for that, of that. I can't answer for       10       A. He didn't take any money from the
11   you.                                                   11   trust. He was paid by the company and the reason
12       Q. I want to ask you now about your                12   he didn't take any money from the trust because it
13   relationship with Mike Gumaer.                         13   would have reduced the income to the beneficiaries
14            When did you first meet him?                  14   of the trust. So he was paid by the company.
15       A. After my father died.                           15       Q. Was there ever any sort of
16       Q. So you had not interacted with him              16   documentation where Mr. Gumaer agreed to waive his
17   before then?                                           17   right to compensation as a director, I meant a
18       A. Never.                                          18   trustee? I am correcting myself.
19       Q. What was the nature of your                     19       A. I don't believe so. In my father's
20   relationship with Mike Gumaer during the first few     20   will I waived my compensation as an executor of
21   years after your father died?                          21   his estate.
22       A. He worked, I worked very close with             22       Q. What do you mean you waived?
23   him. He educated me to the trust and to                23       A. I served for free where the other
24   transactions you know in settling an estate, my        24   executors, the bank and Mr. Gumaer, were paid, you
25   father's estate.                                       25   know, whatever the law was.
                                                 Page 251                                                       Page 253
 1                  L. Eber                                  1               L. Eber
 2       Q. At any point in time or -- withdrawn.            2         Q. Was that your decision to serve for
 3            At that time Mike Gumaer was a partner         3   free?
 4   in the law firm of Nelson Hargrave.                     4         A. It was my father's wish and I observed
 5       A. Nixon.                                           5   it.
 6       Q. Nixon Hargrave?                                  6         Q. When did Mr. Gumaer retire from Nixon
 7       A. Yes.                                             7   Hargrave or Nixon Peabody as it became?
 8       Q. Did you or Eber Brothers retain him as           8             MR. CALIHAN: Objection to form.
 9   a lawyer for the company?                               9         A. It is in there. I don't remember the
10       A. Yes.                                            10   date.
11       Q. Did you ever retain him as your                 11             MR. BROOK: What's the basis for the
12   personal attorney?                                     12         objection?
13       A. I used him as a personal attorney.              13             MR. CALIHAN: I am not sure which
14       Q. When did you start doing that?                  14         relationship with the firm you are referring
15       A. After my father died.                           15         to. I think there were several but I am
16       Q. What kinds of things did you retain             16         not --
17   him for?                                               17             MR. BROOK: Understood.
18       A. He advised me legally. Send me                  18         A. Thank you.
19   different law specialists in his firm or what have     19             MR. BROOK: Let's go to another
20   you. Everything. Anything I had I needed a legal       20         exhibit. This is 47.
21   opinion on I would go through him.                     21             (Plaintiffs' Exhibit 47, a two-page
22       Q. And for personal matters?                       22       letter on the letterhead for Elliot W.
23       A. Both personal and business, yes.                23       Gumaer, Jr. dated January 2, 2001 Bates
24       Q. So for personal matters give an                 24       stamped January 8, 2001 and Bates number EB
25   example of something where you relied on Mr.           25       00001556 to 57, marked for identification,

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                                                Page 466                                                       Page 468
 1                   L. EBER                                1                  L. EBER
 2   competency that he had been before?                    2      Q And what kind of credit card is that?
 3      A I believe it's taken a lot out of him and         3      A My ordinary personal one.
 4   slowed him up.                                         4      Q So it's a --
 5      Q And you were relying on others at that            5      A It's not a corporate card. It's my own
 6   point.                                                 6   personal one.
 7      A Others, but I always had a lot of respect         7      Q And do you use that for anything other
 8   for Mike.                                              8   than Southern expenses?
 9      Q And when you said that you continued to           9      A Not usually.
10   view him as the attorney for you up until the time    10      Q But sometimes?
11   of his death, is it fair to say that that testimony   11      A It depends. If I lost another credit card
12   by you reflected a sense of loyalty to Mike Gumaer    12   I might use it but I try to keep it with the
13   as much as anything else?                             13   Southern expenses.
14      A Loyalty and respect.                             14      Q Approximately how much in expenses -- let
15          MR. CALIHAN: That's all questions that I       15   me withdraw that. In connection with your work for
16      have.                                              16   Southern have you always tracked expenses basically
17   CONTINUED EXAMINATION BY MR. BROOK:                   17   the same way?
18      Q I do have another document that was              18      A Yes.
19   produced from the last time you were here. This the   19      Q And do you bill Southern for all the
20   was previously marked as Plaintiff's Exhibit 94.      20   expenses that you incur?
21   This is a set of documents, regarding looks like      21          MR. RAMSEY: Form.
22   payments that were made to you by Southern Wine &     22      A Expenses I incur on their business.
23   Spirits, LLC. Do you recognize those documents?       23      Q On their business. Are there any expenses
24      A Yes.                                             24   you incur in connection with your consulting work
25      Q What are they?                                   25   that you don't bill to Southern?
                                                Page 467                                                       Page 469
 1                   L. EBER                                1                  L. EBER
 2       A They're what they are. They're paying for        2      A That I don't bill?
 3   services that I have provided them.                    3      Q Yeah.
 4       Q And they're reimbursing you for expenses?        4      A There are things that I do for
 5       A Yes.                                             5   governmental work that I feel helps my position as a
 6       Q What kind of expenses did you incur in           6   lobbyist and a governmental affairs person that I
 7   connection with your consulting work for Southern?     7   paid for personally.
 8       A Travel to New York to Syosset, Long              8      Q What kind of expenses are those?
 9   Island, to 800 3rd Avenue, to Albany, to Miami for     9      A Donations to legislators or seminar if I
10   meetings, to legislative districts throughout New     10   went to or meetings, or what have you, that could
11   York State.                                           11   help me.
12       Q And how did you keep track of those             12      Q Have you acquired any significant assets
13   expenses?                                             13   for your business, for your consulting business?
14       A I filed reports. I get receipts and filed       14      A Assets from my consulting?
15   reports and send them into him.                       15      Q Yes.
16       Q Did you also incur expenses in connection       16      A No.
17   with your work for Eber Connecticut?                  17      Q So you don't have a car specific to your
18       A Yes.                                            18   consulting business?
19       Q How did you keep track of those expense?        19      A No.
20       A Same way.                                       20      Q And according to these documents you
21       Q Do you have separate credit cards?              21   received reimbursement for $118,371.21 expenses from
22       A Yes.                                            22   Southern in the year 2018. Does that sound about
23       Q Did you have a specific credit card that        23   right?
24   you use just for Southern?                            24      A If that's what it says.
25       A Yes.                                            25      Q Approximately how much time did you spend

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                                                   Page 470                                                      Page 472
 1                  L. EBER                                    1                   L. EBER
 2   doing consulting work for Southern in 2018?               2       Q What import company was that?
 3       A I don't remember the time. It's whatever            3       A Part -- it was Slocum. It was just -- the
 4   had to be done. I could work 24 hours. I could            4   company was part of Slocum.
 5   work a whole week. I could work two, three days.          5       Q It was a Slocum entity?
 6   It depends what's going on.                               6       A It was part of -- it was not an entity.
 7       Q Do you ever have conflicts in terms of              7   It was just lines that Slocum had that they sold
 8   what work to do for Southern versus Eber                  8   some of the wine in New York. That ceased.
 9   Connecticut?                                              9       Q When did that cease?
10          MR. RAMSEY: Form.                                 10       A Quite a few years ago, it lost a lot of
11       A Sometimes.                                         11   money.
12       Q And how do you --                                  12       Q Why did it cease?
13       A I do the best I can to do both.                    13       A Because it lost a lot of money.
14       Q Would you say you do more work for                 14       Q So it was a decision that you made to stop
15   Southern or more work from Eber Connecticut?             15   that?
16          MR. RAMSEY: Form.                                 16       A Yes.
17       A I think it's a moot question. I couldn't           17       Q Okay. Was it roughly at the same time
18   answer it. I do what I have to for Southern and I        18   that you started consulting for Southern?
19   do it when I'm needed at Connecticut.                    19       A No.
20       Q Has working for Southern impacted your             20       Q So help me understand then, time wise,
21   ability to provide services for Eber Connecticut?        21   approximately when it was that the sales in New York
22          MR. RAMSEY: Form.                                 22   stopped?
23       A No, it hasn't impacted it. It's helped             23       A I don't remember the exact date but it was
24   Connecticut.                                             24   not profitable and Connecticut needed to watch
25       Q How so?                                            25   Connecticut. The employees, I wanted them all to
                                                   Page 471                                                      Page 473
 1                   L. EBER                                   1                  L. EBER
 2      A There are suppliers that they have that I            2   spend their time not sending, selling wine to other
 3   have been able to get to know and been able to get        3   states but spend their time in building the
 4   their lines for Connecticut.                              4   Connecticut business.
 5      Q Which suppliers?                                     5       Q I'm just trying to get, you know, a
 6      A I don't remember the names but there are a           6   ballpark sense, you best recollection?
 7   bunch of them.                                            7       A I couldn't give you the date. I just
 8      Q Can you name even one?                               8   don't remember it.
 9           MR. RAMSEY: Form.                                 9       Q Was it before you started consulting for
10      A I just -- I don't want to get the wrong.            10   Southern?
11           MR. RAMSEY: If you remember you remember.        11          MR. RAMSEY: Form.
12      A I can't remember there are -- it isn't              12       A Before I started?
13   exact. It's a relationship that they know you and        13       Q Yes, that you stopped. Did Eber
14   they come and see you because I met them in New York     14   Connecticut stop selling in New York before --
15   and talked to them.                                      15       A No, it was after.
16      Q And just I want to clarify something that           16       Q Approximately how long after?
17   came up in the deposition of Bob Lowenthal.              17       A I don't remember.
18   (phonetic) Does Eber Connecticut have any business       18       Q Years after?
19   in New York?                                             19          MR. RAMSEY: Form.
20      A Not anymore.                                        20       A Could have been a couple of years. I
21      Q Did it at one point in time?                        21   don't remember.
22      A They did.                                           22       Q Did you ever discuss Eber Connecticut's
23      Q When was that?                                      23   sales in New York with Southern?
24      A When we first took it over they had an              24       A No.
25   import company that they sold wine to New York.          25       Q Did Eber Connecticut sales in New York

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